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           BEFORE THE UNITED STATES JUDICIAL PANEL ON
                   MULTIDISTRICT LITIGATION




IN RE: EYEWEAR ANTITRUST                        MDL No. ______
LITIGATION




   MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO
   TRANSFER FOR COORDINATED AND/OR CONSOLIDATED PRETRIAL
      PROCEEDINGS IN THE SOUTHERN DISTRICT OF NEW YORK
                  PURSUANT TO 28 U.S.C. § 1407
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I.     INTRODUCTION

       Pursuant to 28 U.S.C. § 1407 and Rule of Procedure 6.2(e) of the Judicial Panel on

Multidistrict Litigation, Moving Defendants1 seek to transfer four related antitrust actions

currently pending in three federal districts (the “Actions”) for coordinated or consolidated pretrial

proceedings. Plaintiffs in each of the Actions claim—based on the same alleged underlying

conduct related to the manufacture and sale of consumer eyewear (i.e., sunglasses and prescription

glasses)—that Moving Defendants violated Section 1 and/or Section 2 of the Sherman Act.

Plaintiffs purport to represent overlapping putative nationwide consumer classes. All of the

Actions were filed within the last four months, and each is still in its infancy: no responsive

pleadings have been filed, no initial case management conferences or discovery have taken place,

and none of the nineteen (19) Defendants outside the United States have been served.

Centralization in a single district will prevent inconsistent pretrial rulings, avoid duplicative

discovery, and conserve judicial and party resources.

       Moving Defendants request centralization in the Southern District of New York. That

district has the strongest connection to this litigation, and the litigation will be conducted most

efficiently there. The Southern District of New York encompasses the principal places of business

of more Defendants than any other federal judicial district. It is also a geographically central and

convenient forum for this litigation, which will involve a large number of witnesses based in

Europe. Further, the Southern District of New York’s substantial antitrust expertise and relatively

low number of pending cases per judgeship make it an optimal forum for the efficient




1
  Moving Defendants are Costa del Mar, Inc., Essilor of America, Inc., EssilorLuxottica America
SAS, EssilorLuxottica USA Inc., EyeMed Vision Care, LLC, For Eyes Optical Company, Frames
for America, Inc., Luxottica of America Inc., Oakley, Inc., and Vision Source, LLC.


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administration of pretrial proceedings in these Actions. For similar reasons, Moving Defendants

believe that centralization in the Eastern District of New York would be appropriate as well.

        In the alternative, Defendants request centralization in the Northern District of Illinois.

One of the Actions is currently pending there, and Chicago is a reasonably convenient

transportation hub for the U.S. and overseas witnesses involved in the litigation, as well as counsel

for the parties.

II.     BACKGROUND

        Plaintiffs in all of the Actions are consumers who allegedly purchased non-contact-lens

eyewear. They bring these Actions asserting violations of Section 1 and/or Section 2 of the

Sherman Act based on Moving Defendants’ alleged exclusive intellectual property (“IP”) licenses,

supply and distribution agreements, supposed steering practices, mergers and acquisitions, and

related conduct. One of the Actions (Fathmath) names 34 IP licensors and eyewear manufacturers

with whom Moving Defendants allegedly do business as Defendants, while the three other Actions

make allegations regarding those same 34 entities.

        As of the date of this Motion, there are four Actions pending in three federal districts: one

in the Northern District of California, two in the District of Minnesota, and one in the Northern

District of Illinois. Fathmath v. EssilorLuxottica S.A. et al., was filed on July 21, 2023 in the

Northern District of California. See Complaint, No. 3:23-cv-03626 (N.D. Cal. July 21, 2023).

Three putative class actions then followed: Morgan v. EssilorLuxottica S.A. et al., filed on

October 3, 2023 in the District of Minnesota (see Complaint, No. 0:23-cv-03065 (D. Minn. Oct. 3,

2023)); Jonas et al. v. EssilorLuxottica S.A. et al., filed on October 5, 2023 in the District of

Minnesota (see Complaint, No. 0:23-cv-03082 (D. Minn. Oct. 5, 2023)); and Brown v.

EssilorLuxottica S.A. et al., filed on October 20, 2023 in the Northern District of Illinois (see




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Complaint, No. 1:23-cv-15176 (N.D. Ill. Oct. 20, 2023)). Plaintiffs in each Action are represented

by different counsel.

       Plaintiffs in these four Actions purport to represent overlapping putative consumer classes.

Although worded in slightly different ways, all four Plaintiff groups seek to represent all persons

in the United States who purchased directly from Moving Defendants any non-contact-lens

eyewear of a brand owned or licensed by Moving Defendants. Specifically:

       •       The Fathmath (N.D. Cal.) Plaintiff seeks to represent “all persons in the United

               States who have purchased any non-contact-lens eyewear product of a brand owned

               or licensed by [Moving Defendants], or for which [Moving Defendants] ha[ve] a

               Sales Agreement, including the brands of the Fashion Houses and Competing

               Eyewear Entities” (Fathmath Compl. ¶ 126);

       •       The Morgan (D. Minn.) and Brown (N.D. Ill.) Plaintiffs seek to represent “[a]ny

               person in the United States who purchased . . . one or more of [Moving] Defendants’

               Proprietary Brands or Licensed Brands of Eyewear directly from one or more of

               [Moving] Defendants’ Retail Outlets or [Moving] Defendants’ co-conspirators”

               (Morgan Compl. ¶ 131; Brown Compl. ¶ 131); and

       •       The Jonas (D. Minn.) Plaintiffs seek to represent “[a]ll persons in the United States

               who have purchased any of [Moving Defendants’] Proprietary Brands, Fashion

               House Licensed Brands, and the brands of Premium-Branded Eyewear Competitors

               . . . directly from [Moving Defendant]-owned or operated physical or online retail

               outlets” (Jonas Compl. ¶ 126).




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       All of the Actions assert antitrust claims under the Sherman Act based on the same

underlying alleged conduct and on behalf of the same putative class:

                                                Section 1          Section 2
               Case
                                             (15 U.S.C. § 1)    (15 U.S.C. § 2)
               Fathmath (N.D. Cal.)                 X

               Morgan (D. Minn.)                                       X

               Jonas (D. Minn.)                     X                  X

               Brown (N.D. Ill.)                                       X

       Each Action is premised on the same—often verbatim—allegations of anticompetitive

conduct. For instance, all four Actions allege that Moving Defendants engaged in the following

conduct that supposedly harms competition:

       •      Exclusive IP licenses allowing Moving Defendants to make and sell the IP

              licensors’ branded eyewear (Fathmath Compl. ¶¶ 78(a), 80-86; Morgan Compl.

              ¶¶ 49-56; Jonas Compl. ¶¶ 6-8, 69-76, 138; Brown Compl. ¶¶ 49-56);

       •      Supply agreements allowing Moving Defendants to sell other eyewear

              manufacturers’ eyewear in their retail outlets (Fathmath Compl. ¶¶ 78(b), 87-94;

              Morgan Compl. ¶¶ 57-61; Jonas Compl. ¶¶ 77-81, 138; Brown Compl. ¶¶ 57-61);

       •      Distribution agreements pursuant to which Moving Defendants sell their own

              eyewear brands to third-party retailers (Fathmath Compl. ¶¶ 78(c), 100; Morgan

              Compl. ¶¶ 62-63; Jonas Compl. ¶¶ 82-84; Brown Compl. ¶¶ 62-63);

       •      Mergers and acquisitions of and by Moving Defendants (Fathmath Compl. ¶¶ 69-

              72; Morgan Compl. ¶¶ 31-42; Jonas Compl. ¶¶ 57-68, 138; Brown Compl. ¶¶ 31-

              42); and




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        •       Supposed steering practices at eyecare providers and insurers associated with

                Moving Defendants (Fathmath Compl. ¶¶ 103-21; Morgan Compl. ¶¶ 81-88; Jonas

                Compl. ¶¶ 91-94; Brown Compl. ¶¶ 81-88).

        Plaintiffs allege not only the same anticompetitive conduct on behalf of the same

consumers, but also the exact same harm in the same or similar alleged markets. Plaintiffs in each

Action claim that, as a result of the same alleged conduct, consumers paid higher prices for

eyewear. See Fathmath Compl. ¶¶ 1, 99, 101, 122-23; Morgan Compl. ¶¶ 62, 64-69; Jonas

Compl. ¶¶ 55, 101, 169; Brown Compl. ¶¶ 61-62, 64-65, 69-70, 125. Plaintiffs in Fathmath,

Morgan, and Brown allege the same market of non-contact-lens, prescription and non-prescription,

sunglasses and eyeglasses, see Fathmath Compl. ¶ 61; Morgan Compl. ¶¶ 104-06; Brown Compl.

¶¶ 104-06, and Plaintiffs in Jonas allege a subset of that market for “premium-branded” eyewear,

see Jonas Compl. ¶ 41. All Plaintiffs allege that the relevant geographic market is the United

States. Fathmath Compl. ¶ 61; Morgan Compl. ¶ 107; Jonas Compl. ¶ 41; Brown Compl. ¶ 107.

        All of the Actions are in their infancy. None of the Defendants has responded to any of

the Complaints. None of the nineteen (19) non-U.S. Defendants has even been served or agreed

to waive service. No discovery has taken place, and none of the courts in which the Actions are

currently pending has held an initial case management conference.

III.    ARGUMENT

        A.      The Panel Should Transfer the Actions for Coordinated or Consolidated
                Pretrial Proceedings Pursuant to 28 U.S.C. § 1407

        The Panel may transfer “civil actions involving one or more common questions of fact

[that] are pending in different districts” to a single district “for coordinated or consolidated pretrial

proceedings.” 28 U.S.C. § 1407(a). Centralization is warranted if it “will be for the convenience




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of parties and witnesses and will promote the just and efficient conduct of [the] actions.” Id. These

criteria are easily satisfied here.

                1.      The Actions Involve Common Questions of Fact

        The Actions unquestionably involve “one or more common questions of fact.” Id. They

share overlapping class definitions, the same core allegations of supposedly anticompetitive

conduct, and common Defendants and alleged co-conspirators or relevant parties. All of the claims

rest on the same underlying alleged facts: exclusive IP licenses between Moving Defendants and

IP licensors, supply and distribution agreements, mergers and acquisitions involving Moving

Defendants, and supposed consumer steering practices. Each Complaint asserts that the alleged

conduct constitutes price-fixing or monopolization (or both) in an alleged eyewear market, in

violation of the Sherman Act. Given the overlapping allegations and legal claims, common

questions will include: (1) whether there are relevant product markets for consumer eyewear or

premium-branded consumer eyewear; (2) whether any Defendant has market power in any alleged

market; (3) the existence of agreements among Moving Defendants and named or unnamed co-

conspirators; (4) whether any of the alleged conduct harms competition; and (5) whether any

consumer class of eyewear purchasers should be certified.

        The Panel routinely orders centralization where, as here, cases pending in different districts

involve the same core antitrust allegations. See, e.g., In re Diisocyanates Antitrust Litig., 341 F.

Supp. 3d 1376, 1377-78 (J.P.M.L. 2018) (centralizing antitrust actions to “prevent inconsistent

pretrial rulings, especially with respect to class certification,” where actions involved “complex

factual questions arising from allegations that defendants engaged in a [price-fixing] conspiracy”);

In re Direct Purchaser Plaintiff Beef Antitrust Litig., 609 F. Supp. 3d 1412, 1413 (J.P.M.L. 2022)

(centralizing antitrust actions that “share[d] factual questions arising from plaintiffs’ allegations

that . . . defendants exploited their market power . . . by conspiring to limit the supply, and fix the


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prices, of beef sold in the U.S. wholesale market”); In re Restasis (Cyclosporine Ophthalmic

Emulsion) Antitrust Litig., 289 F. Supp. 3d 1332, 1334 (J.P.M.L. 2018) (centralizing three actions

where all of actions “share[d] factual questions arising from [defendant’s] alleged anticompetitive

scheme” and asserted claims “on behalf of overlapping putative classes”); In re Inclusive Access

Course Materials Antitrust Litig., 482 F. Supp. 3d 1358, 1359 (J.P.M.L. 2020) (centralizing

antitrust actions that arose “from a common factual core,” even though the plaintiffs purported to

represent different classes); In re Deere & Co. Repair Servs. Antitrust Litig., 607 F. Supp. 3d 1350,

1351 (J.P.M.L. 2022) (centralizing antitrust actions that “share[d] factual issues arising from

allegations that, through various anticompetitive practices, [defendant] has monopolized the

[alleged] market”); see also MULTIDISTRICT LITIGATION MANUAL § 5:14 (2023) (complex antitrust

cases are “a category of actions that the Panel almost inevitably orders transferred if there are

multiple actions pending in different districts”).

       As the Panel has explained: “Section 1407 does not require a complete identity or even a

majority of common factual issues as a prerequisite to centralization.” In re: Keurig Green

Mountain Single-Serve Coffee Antitrust Litig., 24 F. Supp. 3d 1361, 1362-63 (J.P.M.L. 2014)

(citation omitted) (ordering centralization despite “some individualized factual issues”).         In

particular, neither “the presence of . . . differing legal theories” nor incomplete “identity of . . .

parties” is a “prerequisite to transfer.” In re Auto Body Shop Antitrust Litig., 37 F. Supp. 3d 1388,

1390 (J.P.M.L. 2014); see also In re Inclusive Access Course Materials Antitrust Litig., 482 F.

Supp. 3d at 1359 (ordering centralization where certain “plaintiffs assert[ed] some causes of action

not found in the other actions,” because “where common factual issues exist, the presence of

different legal theories among the actions is not a bar to centralization” (citation omitted)). Here,

the Actions variously label the same alleged conduct as violations of Section 1 (Fathmath),




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Section 2 (Morgan and Brown), or both (Jonas). Likewise, the IP licensors and other eyewear

manufacturers with whom Moving Defendants are alleged to do business are named as Defendants

in Fathmath, and are identified in allegations in Jonas, Morgan, and Brown. It is undeniable that

the Actions “all arise from a common factual core,” In re Inclusive Access Course Materials

Antitrust Litig., 482 F. Supp. 3d at 1359, and thus they should be transferred for coordinated or

consolidated pretrial proceedings in a single district.

                2.      Centralization Will Promote Efficiency and Minimize Inconvenience
                        to the Parties and Witnesses

        Centralization promotes efficiency and convenience within the meaning of Section 1407 if

it “will eliminate duplicative discovery, the possibility of inconsistent rulings on class certification

and other pretrial matters, and conserve judicial and party resources.” In re Sensipar (Cinacalcet

Hydrochloride Tablets) Antitrust Litig., 412 F. Supp. 3d 1344, 1346 (J.P.M.L. 2019). This

standard is easily met in this case.

        Duplicative Discovery.         Centralizing the Actions in the same district will reduce

duplicative discovery and conserve resources. The Complaints share factual allegations and assert

the same and similar claims; there will be extensive duplicative discovery if the cases are not

transferred and centralized before the same court. For example, if the Actions survive the pleading

stage, each will require the same exact discovery from Moving Defendants, who have been named

in all Actions. Plaintiffs in each Action will seek the same agreements, communications, and data

from Moving Defendants, and they will seek depositions of the same employees of Moving

Defendants. Moreover, Plaintiffs in each Action will likely seek discovery—including employee

depositions—from the IP licensors and eyewear manufacturers identified in all four Actions.

Centralization would eliminate this substantial duplication of efforts, and the Panel has previously

ordered centralization for precisely this reason. See, e.g., In re: Keurig Green Mountain Single-



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Serve Coffee Antitrust Litig., 24 F. Supp. 3d at 1363 (centralization would “ensure[] that common

witnesses are not subjected to duplicative discovery demands”); In re Diisocyanates Antitrust

Litig., 341 F. Supp. 3d at 1377-78 (centralizing antitrust actions where “discovery [was] likely to

be international in scope and [would] include a significant number of nonparties”).

       Inconsistent Rulings and Overlapping Classes. Absent transfer to a single court, the

parties would have to litigate—and multiple district courts would have to resolve—identical and

similar legal issues and discovery disputes multiple times. Centralization will avoid the risk of

inconsistent pretrial rulings, including on motions to dismiss, discovery disputes (if the cases

survive the pleadings stage), class certification, summary judgment, Daubert issues, and other

pretrial matters. That risk is especially acute where, as here, the Complaints assert the same and

similar legal claims based on the same alleged conduct and on behalf of overlapping putative

classes whose interests are ostensibly represented in multiple jurisdictions. All Actions seek to

certify nationwide classes of consumers who purchased eyewear. The Panel frequently orders

centralization where the risk of inconsistent rulings is substantial, as it is here. See, e.g., In re:

Cast Iron Soil Pipe & Fittings Antitrust Litig., 999 F. Supp. 2d 1368, 1369 (J.P.M.L. 2014)

(ordering centralization where plaintiffs brought “actions on behalf of virtually identical

nationwide classes”); In re Deere & Co. Repair Servs. Antitrust Litig., 607 F. Supp. 3d at 1351

(centralization will “prevent inconsistent pretrial rulings, particularly with respect to class

certification”); In re Diisocyanates Antitrust Litig., 341 F. Supp. 3d at 1378 (same); In re Sugar

Indus. Antitrust Litig., 395 F. Supp. 1271, 1273 (J.P.M.L. 1975) (“We have consistently held that

transfer of actions under Section 1407 is appropriate, if not necessary, where the possibility of

inconsistent class determination exists.”).




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       Procedural Posture. Transfer is particularly appropriate here because the Actions are still

in the earliest stages of litigation. No Defendant has responded to any Complaint. Many

Defendants have not even been served. None of the transferor courts has entered a case schedule

or held a case management conference. Because the transferor courts have not yet taken or had to

take any substantive actions, centralization will not result in the duplication of efforts by the

transferee court or the parties. See, e.g., In re Elec. Books Antitrust Litig., 846 F. Supp. 2d 1378,

1379 (J.P.M.L. 2011) (finding centralization appropriate where “[a]ll actions” had “not progressed

beyond the filing of the complaints”).

       B.      The Southern District of New York Is the Appropriate Transferee District

       In selecting the appropriate transferee district, the Panel considers factors such as: the

location of witnesses and evidence; convenience for the parties and witnesses; and the experience

and caseload of the relevant judicial district. See, e.g., In re: Cast Iron Soil Pipe & Fittings

Antitrust Litig., 999 F. Supp. 2d at 1369 (transferring actions to the district where defendants and

their trade association had their principal places of business, and where “primary witnesses and

documentary evidence likely will be located”); In re Dollar Gen. Corp. Motor Oil Mktg. & Sales

Practices Litig., 190 F. Supp. 3d 1361, 1363 (J.P.M.L. 2016) (transferring actions to the

midwestern district in which the defendant was headquartered; “although this litigation is

nationwide in scope, its center of gravity is in the central portion of the country”); MANUAL FOR

COMPLEX LITIGATION (FOURTH) § 20.131 (2004). Here, the Southern District of New York is the

most appropriate transferee district considering the location of witnesses and evidence, geographic

convenience, and the district’s experience and caseload. The lack of a pending case in the Southern

District of New York is of no moment. See, e.g., In re: BP p.l.c. Sec. Litig., 734 F. Supp. 2d 1376,

1379 (J.P.M.L. 2010) (ordering actions centralized in a district where no case was then pending;




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“that no constituent action is currently pending in the Southern District of Texas is not an

impediment to its selection as the transferee district”).

               1.      The Largest Volume of Evidence Is in the Southern District of New
                       York

       The Southern District of New York is likely to have more relevant witnesses and

documents than any other judicial district nationwide. Of the 28 Defendants in the United States

identified across the Actions, over half of them (16) are alleged to have a principal place of

business in the New York City area.2 Certain Moving Defendants’ primary U.S.-based marketing,

strategy, and retail sales operations are located in New York.3 Likewise, New York City is an

important office location for many Moving Defendants—one where many of the companies’ U.S.

leaders are based or visit regularly.4 Further, three Defendants are alleged to have a principal place

of business in New Jersey, and another Defendant is alleged to have a principal place of business

in Connecticut.5 According to Plaintiffs’ allegations, the tristate area is a potential location of

witnesses and documents for at least 20 parties in the litigation.

       No other district comes close to the Southern District of New York in terms of a connection

to the litigation. None of the Defendants are incorporated in or have principal places of business



2
  These are: EssilorLuxottica USA Inc., see Decl. of Belinda S Lee in Support of Defs.’ Mot. to
Transfer for Coordinated and/or Consolidated Pretrial Proceedings in the Southern District of New
York Pursuant to 28 U.S.C. § 1407 (“Lee Decl.”) ¶ 3; Brunello Cucinelli, USA, Inc., Fathmath
Compl. ¶ 28; Bulgari Corporation of America, id. ¶ 29; Burberry Limited, id. ¶ 32; Chanel, Inc.,
id. ¶ 34; Dolce & Gabbana USA Inc., id. ¶ 36; Versace USA, Inc., id. ¶ 39; Giorgio Armani
Corporation, id. ¶ 41; Michael Kors (USA), id. ¶ 42; Prada USA Corporation, id. ¶ 44; Ralph
Lauren Corporation, id. ¶ 45; Tapestry, Inc., id. ¶ 46; Tiffany & Co., id. ¶ 47; Tory Burch LLC,
id. ¶ 48; LVMH Moët Hennessy Louis Vuitton Inc., id. ¶ 53; and Christian Dior, Inc., id. ¶ 55.
3
  Lee Decl. ¶ 4.
4
  Lee Decl. ¶ 5.
5
  These are: Kering Eyewear USA, Inc., Marcolin U.S.A. Eyewear Corp., and Thelios USA Inc.
in New Jersey, Fathmath Compl. ¶¶ 51, 57, 59, and BBGI US, Inc. (f/k/a Brooks Brothers Group,
Inc.) in Connecticut, id. ¶ 26.


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in Minnesota or Illinois. Nor is California likely to be the location of any key witnesses or

documents. Only Defendant Oakley, Inc. has its principal place of business in California—and it

is located in Orange County, over 300 miles from the Northern District. For the vast majority of

Defendants—43 of 49—their principal places of business are on the East Coast or in Europe.

       The Panel regularly transfers actions to a district where “common evidence is likely

located.” In re Local TV Advert. Antitrust Litig., 338 F. Supp. 3d 1341, 1343 (J.P.M.L. 2018)

(transferring actions to the district in which a defendant “sued in all actions” had its

“headquarters”); see also, e.g., In re Korean Air Lines Co., Ltd., Antitrust Litig., 528 F. Supp. 2d

1372, 1373 (J.P.M.L. 2007) (transferring actions to the district where “defendants maintain their

primary domestic office” and therefore “where discovery may be found”); In re Aftermarket Auto.

Lighting Prods. Antitrust Litig., 598 F. Supp. 2d 1366, 1368 (J.P.M.L. 2009) (transferring actions

to a district where “pertinent documents and witnesses are likely located”). That district is often

one in which the defendants are headquartered or have their principal place of business. See, e.g.,

In re Diisocyanates Antitrust Litig., 341 F. Supp. 3d at 1378 (“appropriate transferee forum” was

one where “[o]ne defendant has its U.S. headquarters . . . and five other defendants have their

headquarters in adjacent or nearby districts,” and therefore “[r]elevant documents and witnesses .

. . are likely to be located in or close to this area”); In re Wells Fargo Auto Ins. Mktg. & Sales

Practices Litig., 273 F. Supp. 3d 1383, 1384 (J.P.M.L. 2017) (transferring cases to district where

“it [was] alleged that key entities and individuals with direct responsibility for the alleged conduct

in this litigation are located . . . and, therefore, relevant documents and witnesses may be located

there”). Here, that district is the Southern District of New York.




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               2.        The Southern District of New York Is a Central and Convenient
                         Forum

       The Southern District of New York is a geographically convenient forum for a case in

which numerous European parties and witnesses will need to travel to the United States. See In re

Ethylene Propylene Diene Monomer (EPDM) Antitrust Litig., 277 F. Supp. 2d 1373, 1374

(J.P.M.L. 2003) (District of Connecticut was “a geographically convenient location” given “the

location of principal defendants and potential defendants/witnesses in the eastern part of the United

States and in Europe”). Twenty (20) of the Defendants in the Actions allegedly have their principal

places of business in Europe.6 The Southern District of New York affords out-of-town parties,

witnesses, and counsel easy and convenient access to three major airports: John F. Kennedy

International Airport, Newark Liberty International Airport, and LaGuardia Airport. As of the

filing of this Motion, there are 29 direct flights per week from Milan, 146 direct flights per week

from London (Heathrow), 67 direct flights per week from Paris (Charles de Gaulle), 142 direct

flights per week from San Francisco, 24 direct flights per week from Minneapolis-St. Paul, and

55 direct flights per week from Chicago to JFK alone.7            By contrast, travel to California,

Minnesota, or Illinois would significantly increase travel time and time zone discrepancies for the

parties and witnesses.




6
  Specifically, 6 Defendants are located in France: EssilorLuxottica S.A., Fathmath Compl. ¶ 11;
Essilor International SAS, id. ¶ 13; EssilorLuxottica America SAS (formerly Luxottica U.S.
Holdings Corp.), Fathmath Corporate Disclosure Statement, ECF No. 152; Kering S.A., Fathmath
Compl. ¶ 49; LVMH Moët Hennessy Louis Vuitton SE (“LVMH”), id. ¶ 52; and Christian Dior
SE, id. ¶ 54. Another 11 Defendants are located in Italy: Luxottica Group S.p.A., id. ¶ 12;
Brunello Cucinelli S.p.A., id. ¶ 27; Bulgari S.p.A, id. ¶ 29; Dolce & Gabbana S.r.l., id. ¶ 35; Ferrari
S.p.A., id. ¶ 37; Gianni Versace S.r.l., id. ¶ 38; Giorgio Armani S.p.A., id. ¶ 40; Prada S.p.A., id.
¶ 43; Kering Eyewear S.p.A., id. ¶ 50; Marcolin, S.p.A., id. ¶ 56; and Thélios S.p.A., id. ¶ 58.
Burberry Group plc and Chanel Ltd. are located in the United Kingdom, id. ¶¶ 31, 33, and
GrandVision BV is located in the Netherlands, id. ¶ 14.
7
  These figures are from www.flightconnections.com as of November 1, 2023.


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                3.      The Relative Caseloads Favor the Southern District of New York

        The Southern District of New York has the resources to conduct this complex antitrust

proceeding. In particular, the Southern District of New York has a significantly lower number of

cases per judgeship than the District of Minnesota or the Northern District of California:8

                                                     Pending Cases
                                                     Per Judgeship
                                  S.D.N.Y.                626
                                  N.D. Cal.                989
                                  D. Minn.                1,242
                                  N.D. Ill.                564

The Panel often considers the relative docket conditions in determining where to transfer, and aims

to avoid overburdening any one district’s docket. See, e.g., In re Pressure Sensitive Labelstock

Antitrust Litig., 290 F. Supp. 2d 1374, 1375-76 (J.P.M.L. 2003) (transferring actions to a district

that “enjoys general docket conditions” allowing it to devote sufficient “resources to . . . the pretrial

matters that this docket is likely to require”).

        The absence of a pending case in the Southern District of New York does not weigh against

transfer to that district. The Panel recognizes that when, as here, “potential plaintiffs and putative

class members . . . reside in every corner of the country and defendants are located in several

states,” the location of the cases filed to date “is not a particularly significant factor” in the Panel’s

decision on where to transfer. In re Darvocet, Darvon & Propoxyphene Prods. Liability Litig.,

780 F. Supp. 2d 1379, 1381 (J.P.M.L. 2011); see also In re: BP p.l.c. Sec. Litig., 734 F. Supp. 2d

at 1379 (“Because potential plaintiffs and putative class members will reside in every corner of




8
  See U.S. District Court – Judicial Caseload Profile, 12-Month Period Ending June 30, 2023,
https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile0630.2023.pdf (last
visited Nov. 1, 2023).


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the country, the location of the currently filed cases is not a particularly important factor in our

decision. Similarly, that no constituent action is currently pending in the Southern District of

Texas is not an impediment to its selection as the transferee district.”). Regardless of whether a

case has been filed in the Southern District of New York, it is the district with the closest

connection to the litigation, and it has the resources to efficiently resolve these complex cases.

               4.      The Eastern District of New York Is Also an Appropriate Transferee
                       District

       For many of the same reasons that the Southern District of New York is the appropriate

forum for this litigation, the Eastern District of New York is a close second. The Eastern District

of New York is nearly as convenient for the parties and witnesses, given its proximity to many

Defendants’ principal places of business and its proximity to the same major airports as the

Southern District of New York. In addition, the Eastern District of New York has 869 pending

cases per judgeship—higher than the Southern District of New York, but lower than two of the

three districts in which an Action is currently pending.9

       C.      In the Alternative, the Panel Should Transfer the Actions to the Northern
               District of Illinois

       In the alternative, the Panel should transfer the Actions to the Northern District of Illinois.

That district is a convenient geographic location for travel from around the U.S. and from Europe.

For instance, as of the filing of this Motion, Chicago offers more direct flights per week from Paris

(Charles de Gaulle) and Milan than does Minneapolis-St. Paul or San Francisco—in fact, there are

no direct flights at all between Milan and San Francisco or between Milan and Minneapolis.10 And




9
   See U.S. District Court – Judicial Caseload Profile, 12-Month Period Ending June 30, 2023,
https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile0630.2023.pdf (last
visited Nov. 1, 2023).
10
   These figures are from www.flightconnections.com as of November 1, 2023.


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the Northern District of Illinois has a lower number of pending cases per judgeship than any other

district in which an Action is currently pending.

IV.     CONCLUSION

        For the foregoing reasons, Moving Defendants respectfully request that the Panel transfer

the Actions for coordinated or consolidated pretrial proceedings in the Southern District of New

York (or, in the alternative, in the Eastern District of New York or, in the second alternative, in

the Northern District of Illinois).



Dated: November 1, 2023                       Respectfully submitted,


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                                                    Source, LLC




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